       2:15-cv-14467-AC-MKM       Doc # 1    Filed 12/28/15   Pg 1 of 9   Pg ID 1




                  UNITED STATES DISTRICT COURT
     IN THE EASTERN DISTRICT OF MICHIGAN–SOUTHERN DIVISION

CYNTHIA ARCHER-GIFT,
Individually and on behalf of others similarly situated,
      Plaintiff,

-vs-                                           Case No.
                                               Hon.
                                               CLASS ACTION COMPLAINT

CITIGROUP, INC.,
THE HOME DEPOT, INC., and
SEARS, ROEBUCK AND CO.
     Defendants.

                    CLASS COMPLAINT & JURY DEMAND

       Plaintiff, Cynthia Archer-Gift, individually and on behalf of others similarly

situated, states the following claims for relief:

                                     Introduction

1.     This class action complaint is filed for violations of the Equal Credit

       Opportunity Act (“ECOA”), 15 U.S.C. § 1691 et seq.

                                     Jurisdiction

2.     This Court has jurisdiction under the ECOA, 15 U.S.C. § 1691 et seq, as well

       as under 28 U.S.C. § 1331 and § 1337.

                                        Venue

3.     The transactions and occurrences which give rise to this action occurred in

       Wayne County, Michigan.
      2:15-cv-14467-AC-MKM      Doc # 1     Filed 12/28/15   Pg 2 of 9   Pg ID 2




4.    Venue is proper in the Eastern District of Michigan.

                                      Parties

5.    The Plaintiff to this lawsuit is Cynthia Archer-Gift (“Mrs. Archer-Gift”), a

      natural person and resident of Wayne County, Michigan.

6.    The Defendants to this lawsuit are:

      a.     Citigroup, Inc. (“Citigroup”), a foreign corporation doing business in

             Michigan that is a creditor for purposes of the ECOA;

      b.     The Home Depot, Inc. (“Home Depot”), a foreign corporation doing

             business in Michigan that is a creditor for purposes of the ECOA; and

      c.     Sears, Roebuck and Co. (“Sears”), a foreign corporation doing business

             in Michigan that is a creditor for purposes of the ECOA.

           Factual Allegations as to the Home Depot/Citigroup Denial

7.    Mrs. Archer-Gift incorporates the proceeding allegations by reference.

8.    On or about February 11, 2014, Mrs. Archer-Gift went to Home Depot for the

      purpose of purchasing a washing machine.

9.    At that time, Mrs. Archer-Gift completed a credit application for a Home Depot

      credit account operated jointly with CitiGroup.

10.   Mrs. Archer-Gift provided all required information.

11.   An agent of Home Depot input Mrs. Archer-Gift’s information into its system

      and verbally informed Mrs. Archer-Gift that she was denied credit for purchase
      2:15-cv-14467-AC-MKM        Doc # 1   Filed 12/28/15   Pg 3 of 9   Pg ID 3




      of the washing machine.

12.   On February 24, 2014, Home Depot Credit Services sent a letter to Mrs.

      Archer-Gift stating that the credit center was unable to complete processing of

      her application, and that she would receive a written notification within 7-10

      days with the results of the credit review.

13.   Mrs. Archer-Gift never received that written notification, or any other

      correspondence from Home Depot or Citigroup regarding the denial of her

      credit application.

14.   Both Citigroup and Home Depot participated in the credit decision as to the

      terms of credit which would potentially be made available to Mrs. Archer-Gift.

15.   Both Citigroup and Home Depot failed to send an adverse action notice

      following the rejection of the application, within the time allowed by the ECOA

      or at all.

16.   Both Citigroup and Home Depot failed to issue any adverse action notices

      under the ECOA.

                 Factual Allegations as to the Sears/Citigroup Denial

17.   Mrs. Archer-Gift incorporates the proceeding allegations by reference.

18.   On July 5, 2013, Mrs. Archer-Gift went to Sears for the purpose of purchasing

      a stove.

19.   At that time, Mrs. Archer-Gift completed a credit application for a Sears credit
      2:15-cv-14467-AC-MKM       Doc # 1   Filed 12/28/15   Pg 4 of 9   Pg ID 4




      card, operated jointly with Citigroup.

20.   Mrs. Archer-Gift provided all required information.

21.   An agent of Sears input Mrs. Archer-Gift’s information into its system and

      verbally informed Mrs. Archer-Gift that she was denied credit for purchase of

      the stove.

22.   Both Citigroup and Sears participated in the credit decision as to the terms of

      credit which would be made available to Mrs. Archer-Gift.

23.   Both Citigroup and Sears failed to send an adverse action notice following the

      rejection of the application, within the time allowed by the ECOA or at all.

24.   Both Citigroup and Sears failed to issue any adverse action notices under the

      ECOA.

25.   Both Citigroup and Sears refused to provide Mrs. Archer-Gift with a written

      explanation of the reasons for denial and refused to provide a copy of the credit

      report which was used to deny the credit application.

                      Practices and Policies of Defendants

26.   Mrs. Archer-Gift incorporates the proceeding allegations by reference.

27.   It is or was the practice and policy of Defendants to:

      a.    Take adverse action for purpose of the ECOA as to consumers without

            sending appropriate notices under the ECOA.

      b.    Fail to send adverse action notices when otherwise required under the
      2:15-cv-14467-AC-MKM       Doc # 1   Filed 12/28/15   Pg 5 of 9   Pg ID 5




            ECOA.

      c.    Fail to maintain records of its compliance with the ECOA.

                                 Class Allegations

28.   Mrs. Archer-Gift incorporates the proceeding allegations by reference.

29.   Defendants failed to give adverse action notices to Mrs. Archer-Gift and the

      class members when so required under the ECOA.

30.   Each Defendant failed to maintain records of its compliance with the ECOA

      with regard to the class members.

31.   Mrs. Archer-Gift brings this action on behalf of herself and a class of all other

      persons similarly situated, pursuant to Fed.R.Civ.P.23.

32.   Mrs. Archer-Gift proposes to represent the following classes:

      a.    Class 1 ECOA – (I) All persons in the state of Michigan who applied to

            Home Depot for a store credit account within the preceding two years;

            (ii) to whom Home Depot and Citigroup did not offer credit on

            substantially the same terms as requested; (iii) who did not accept any

            offer of credit from Home Depot, and (iv) to whom Home Depot did not

            provide an ECOA adverse action notice.

      b.    Class 2 ECOA – (I) All persons in the state of Michigan who applied to

            Sears for a store credit account within the preceding two years; (ii) to

            whom Sears did not offer credit on substantially the same terms as
      2:15-cv-14467-AC-MKM       Doc # 1   Filed 12/28/15   Pg 6 of 9   Pg ID 6




            requested; (iii) who did not accept any offer of credit from Sears, and

            (iv) to whom Sears did not provide an ECOA adverse action notice.

33.   The classes of persons to be represented are so numerous that joinder of all

      members is impractical.

34.   This complaint seeks monetary damages under Fed.R.Civ.P. 23(b)(3).

35.   There are questions of law and fact common to the classes.

36.   Mrs. Archer-Gift’s claims are typical of the claims of all the potential class

      members and all are based on the same legal and remedial theories.

37.   Mrs. Archer-Gift will fairly and adequately protect the interest of the classes.

      Specifically:

      a.    Mrs. Archer-Gift has no adverse interest to the classes.

      b.    Mrs. Archer-Gift has retained counsel who is experienced in handling

            class actions and litigation under various Federal Consumer Credit

            Protection Acts.

      c.    Mrs. Archer-Gift has suffered similar injuries to the members of the

            classes she seeks to represent through this action.

      d.    Neither Mrs. Archer-Gift nor her counsel have any interests which may

            cause them to not vigorously pursue this action.

38.   Certification of the classes under Rule 23(b)(3) of the Federal Rules of Civil

      Procedure is appropriate in that:
      2:15-cv-14467-AC-MKM       Doc # 1   Filed 12/28/15   Pg 7 of 9   Pg ID 7




      a.    The questions of law or fact common to the members of the classes

            predominate over any questions affecting an individual member.

      b.    A class action is superior to other available methods for the fair and

            efficient adjudication of the controversy because no individual class

            member could be expected to hold a strong interest in individually

            controlling the prosecution of separate claims against Defendants

            because the claim amounts are likely small, and involve statutory

            damages under the ECOA, and because management of these claims will

            likely present few difficulties.

39.   There is no impediment to certification of the classes to be represented.

      COUNT I –Class Claims under the Equal Credit Opportunity Act
                           (All Defendants)

40.   Mrs. Archer-Gift incorporates the proceeding allegations by reference.

41.   Defendants have violated the ECOA in relation to Mrs. Archer-Gift and the

      class members.

42.   Defendants have inadequate policies or procedures in place to comply with the

      ECOA’s adverse action notice requirements.

                                   Jury Demand

43.   Mrs. Archer-Gift demands trial by jury in this action.

                                Request for Relief
      2:15-cv-14467-AC-MKM       Doc # 1   Filed 12/28/15   Pg 8 of 9   Pg ID 8




     WHEREFORE, Plaintiff, on her own behalf and on behalf of the members of

     the Classes, requests that this Honorable Court grant the following relief:

     a.    Certify the proposed Classes.

     b.    Appoint Plaintiff as representative of the Classes.

     c.    Appoint the undersigned counsel as counsel for the Classes.

     d.    Award Plaintiff and Classes damages, as allowed by law.

     e.    Award Plaintiff and Classes attorneys’ fees and costs, as allowed by law

           and/or equity.

     f.    Grant Plaintiff leave to amend this complaint to conform to the evidence

           presented at trial.

     g.    Any other relief as the Court deems necessary, just and proper.


                                      Respectfully Submitted,



                                      s/ Michael J. Bonvolanta
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Dated: December 28, 2015
2:15-cv-14467-AC-MKM   Doc # 1   Filed 12/28/15   Pg 9 of 9   Pg ID 9
